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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

GISELL ESTRADA

       Plaintiff,

v.
                                                           No. 22-cv-00611
CITY OF ALBUQUERQUE,
APD DETECTIVE JESSIE CARTER, and
APD SCHOOL RESOURCE OFFICER
STANLEY GRAY,

       Defendants.

                          NOTICE OF ENTRY OF APPEARANCE

       Stephanie M. Griffin, Deputy City Attorney, hereby gives notice of her entry of appearance

as the attorney for Defendant City of Albuquerque in this cause.

                                            Respectfully submitted,

                                            CITY OF ALBUQUERQUE
                                            OFFICE OF THE CITY ATTORNEY


                                            /s/ Stephanie M. Griffin
                                            Deputy City Attorney
                                            P.O. Box 2248
                                            Albuquerque, New Mexico 87102
                                            (505) 768-4500

                                            Attorney for Defendant City of Albuquerque
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It is hereby certified that a true copy
of the foregoing pleading was served
to Plaintiff c/o:

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Attorneys for Plaintiff

on this 16th day of August, 2022

/s/ Stephanie M. Griffin
Deputy City Attorney




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